Case 6:16-cv-01502-CEM-KRS Document 14 Filed 10/13/16 Page 1 of 1 PageID 53




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


JANET HOYT,

                       Plaintiff,

v.                                                          Case No: 6:16-cv-1502-Orl-41KRS

HOUCORP, INC.,

                       Defendant.
                                              /

                                              ORDER

       THIS CAUSE is before the Court on the Joint Notice of Pending Settlement (Doc. 13),

wherein the parties have advised the Court that the above-styled action has been settled.

       Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of Florida, it is

ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice subject to

the right of any party, within sixty days from the date of this Order, to move the Court to enter a

stipulated form of final order or judgment, or, on good cause shown, to reopen the case for further

proceedings. The Clerk is directed to close this file.

       DONE and ORDERED in Orlando, Florida on October 13, 2016.




Copies furnished to:

Counsel of Record




                                             Page 1 of 1
